                                        Case 3:20-cv-07978-WHO Document 226 Filed 05/07/21 Page 1 of 22




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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     CENTER FOR MEDICAL PROGRESS, et                    Case No. 20-cv-07978-WHO
                                         al.,
                                   8                    Plaintiffs,                         ORDER ON MOTIONS TO DISMISS
                                   9                                                        OR STAY
                                                 v.
                                  10                                                        Re: Dkt. Nos. 66, 72, 77, 79, 80, 81, 87, 88,
                                         XAVIER BECERRA, et al.,
                                  11                                                        105, 171
                                                        Defendants.
                                  12
Northern District of California
 United States District Court




                                  13
                                              The California Department of Justice is prosecuting David Daleiden for alleged crimes
                                  14
                                       stemming from conduct that was the subject of two civil cases in this court, one of which went to a
                                  15
                                       jury verdict, the other of which I decided on summary judgment, both of which were decided
                                  16
                                       against Daleiden and others and both of which are or will be on appeal. This lawsuit by Daleiden
                                  17
                                       and the Center for Medical Progress asserts eight causes of action essentially attacking the
                                  18
                                       decision to prosecute him as unconstitutional.
                                  19
                                              Given the significant overlap between issues raised in the criminal state court proceedings,
                                  20
                                       as well as those on appeal or soon on appeal to the Ninth Circuit in the related civil cases, Younger
                                  21
                                       abstention applies. To benefit from guidance those cases may provide, and for purposes of
                                  22
                                       efficiency, I will stay proceedings in this case until the state court and Ninth Circuit proceedings
                                  23
                                       have progressed further.
                                  24
                                              That said, to avoid unnecessary delay once the stay is lifted, I will decide the defendants’
                                  25
                                       motions to dismiss based on the Complaint’s deficiencies. As explained below, I dismiss with
                                  26
                                       prejudice the Fifth and Sixth Causes of Action because plaintiffs cannot allege that they are a
                                  27
                                       “suspect” or “quasi suspect” class sufficient for a 42 U.S.C. § 1985(3) claim. Defendants Diaz
                                  28
                                            Case 3:20-cv-07978-WHO Document 226 Filed 05/07/21 Page 2 of 22




                                   1   and Caldwell are dismissed with prejudice as a result. The remaining six causes of action are

                                   2   dismissed with leave to amend. Once the stay is lifted in this case, plaintiffs will be able to file an

                                   3   amended complaint that addresses the defects identified in this Order and the impact of any

                                   4   relevant state court and Ninth Circuit rulings.

                                   5                                             BACKGROUND

                                   6   I.       CIVIL PROCEEDINGS IN FEDERAL COURT
                                   7            The parties are intimately aware of the factual background in this and the two related civil

                                   8   cases. In 2015, the National Abortion Federation (NAF) filed a lawsuit in this district against

                                   9   David Daleiden, the Center for Medical Progress (CMP), and others. NAF v. CMP et al., Case

                                  10   No. 15-cv-03522 N.D.C.A. (NAF case). In 2016, Planned Parenthood Federal of America (PPFA)

                                  11   and some of its affiliates filed their own lawsuit against Daleiden, CMP, and others in this district.

                                  12   Planned Parenthood, et al. v. CMP et al., Case No. 16-cv-0236 N.D.C.A. (PPFA case). Both
Northern District of California
 United States District Court




                                  13   cases stemmed from Daleiden and CMP’s actions misrepresenting their identities, securing access

                                  14   to PPFA and NAF conferences, and surreptitiously recording of PPFA and NAF staff and

                                  15   members. Daleiden and CMP were acting as part of CMP’s Human Capital Project (HCP),

                                  16   created to investigate and uncover evidence of PPFA and NAF members’ and affiliates’ alleged

                                  17   violation of federal laws regarding the collection and sale of fetal tissue.

                                  18            The PPFA case went to trial. On November 15, 2019, the jury entered a verdict finding

                                  19   that Daleiden, CMP, and other defendants were liable for trespass, breach of conference

                                  20   agreements, fraud, violation of the federal Racketeer Influenced and Corrupt Organizations Act

                                  21   (RICO) and conspiracy to violate RICO, and violation of federal and various state recording laws

                                  22   (including violation of California Penal Code section 632). PPFA case, Dkt. No. 1016. On post-

                                  23   trial motions, I determined that Daleiden, CMP, and the other defendants’ conduct violated

                                  24   California’s Unfair Competition Law (Cal. Bus. & Prof. Code § 17200 et seq.), denied defendants’

                                  25   post-trial motions, and entered judgment and a permanent injunction against the defendants.

                                  26   PPFA case, Dkt. Nos. 1074, 1116. The jury’s verdict and my decisions are now on appeal to the

                                  27   Ninth Circuit.

                                  28            In the NAF case, I entered a preliminary injunction prohibiting Daleiden, CMP, and the
                                                                                          2
                                           Case 3:20-cv-07978-WHO Document 226 Filed 05/07/21 Page 3 of 22




                                   1   other defendants from disclosing recordings and any information they learned at the NAF

                                   2   conferences. NAF case, Dkt. No. 354. Following the determination in the PPFA case that the

                                   3   NAF conference agreements were breached by Daleiden, CMP, and others, NAF moved for entry

                                   4   of judgment and a permanent injunction on its breach of contract claim under issue preclusion

                                   5   principles. On April 7, 2021, I granted that motion and subsequently entered judgment against

                                   6   defendants and in favor of NAF and issued a permanent injunction. Dkt. No. 723. That order and

                                   7   the judgment resolves all pending substantive issues in the NAF case. There is no doubt that it

                                   8   will be appealed.

                                   9   II.     STATE COURT PROCEEDINGS
                                  10           On March 28, 2017, the California Department of Justice filed a fourteen-count criminal

                                  11   complaint against Daleiden and an associate under California Penal Code Sections 632 and 182(a)

                                  12   in San Francisco Superior Court, People v. Daleiden, No. 2502505 (the “State Prosecution”). In
Northern District of California
 United States District Court




                                  13   October 2017, Daleiden sought discovery in support of the criminal defendants’ belief that the

                                  14   California Attorney General’s Office was selectively prosecuting him and the other defendant after

                                  15   colluding with Planned Parenthood Federal of America (PPFA), Planned Parenthood Affiliates of

                                  16   California (PPAC), and its General Counsel, Beth Parker.1 State Defendants’ Request for Judicial

                                  17   Notice (“State RJN,” Dkt. No. 83) Exs. S, T.2

                                  18           On August 18, 2018, Daleiden moved to dismiss the criminal complaint on selective

                                  19   prosecution grounds (alleging that the Attorney General “committed invidious discrimination by

                                  20   bringing this case as a favor to a political ally—Planned Parenthood”). In the alternative, he

                                  21   moved to recuse the California Attorney General because of the allegedly close relationship

                                  22   between former Attorney General Harris with Planned Parenthood. State RJN, Ex. L (Motion to

                                  23   Dismiss, People v. Daleiden August 20, 2018) at 1, 26. The Hon. Christopher Hite, the judge

                                  24
                                       1
                                  25    The Planned Parenthood entities, Parker and the National Abortion Federation (NAF) are
                                       collectively referred to as the “Private Defendants” in this Order.
                                  26   2
                                         Defendants request that I take judicial notice of various court filings, discovery submissions, and
                                  27   court transcripts from the federal civil actions and the state criminal proceedings. See Dkt. Nos.
                                       72-1 (Habig); 78, 80 (PPAC/Parker); 83 (State Defendants); 89 (PPFA); and 106 (NAF). Those
                                  28   requests are GRANTED. I take judicial notice of the arguments made or considered, but not for
                                       the truth of disputed facts therein.
                                                                                          3
                                        Case 3:20-cv-07978-WHO Document 226 Filed 05/07/21 Page 4 of 22




                                   1   presiding over the prosecution in San Francisco Superior Court, denied the motion in full on

                                   2   October 5, 2018. State RJN, Ex. M (Hr’g Tr., People v. Daleiden Oct. 5, 2018) at 32-40.

                                   3          On December 21, 2018, Daleiden filed a Petition for Writ of Mandate to the California

                                   4   Court of Appeal seeking to set aside Judge Hite’s October 5th Order denying his motion to

                                   5   dismiss. State RJN, Ex. E (Pet. for Writ of Mandate, Daleiden v. Superior Ct. of San Francisco

                                   6   Cty., Dec. 4, 2018) at 1. The Court of Appeal denied the writ on January 23, 2019, finding that

                                   7   Daleiden “fail[ed] to establish an abuse of discretion by the superior court,” and “fail[ed] to

                                   8   demonstrate error in respondent’s finding that his claim of discriminatory prosecution was

                                   9   unsupported by the evidence.” State RJN, Ex. G (Order, Daleiden v. Superior Ct. of San

                                  10   Francisco Cty., Jan. 23, 2019) at 1-2.

                                  11          In January 2019, Planned Parenthood entities and NAF filed a motion to intervene in the

                                  12   Superior Court proceedings to ensure that information about their staff or members were not
Northern District of California
 United States District Court




                                  13   publicly disclosed in the preliminary hearing in People v. Daleiden. State Supp. RJN, Dkt. No.

                                  14   146, Ex. B (Feb. 14, 2019) at 18-19. The Superior Court denied the motion to intervene “in the

                                  15   traditional legal sense of the term” on February 14, 2019, but found that defendant entities had an

                                  16   interest and a limited right to be heard under the California Constitution, Article I, Section 28,

                                  17   known as “Marsy’s Law.” Id. at 19 n.4 & 20.

                                  18          On March 29, 2019, Daleiden filed a writ of mandate in the California Court of Appeal

                                  19   requesting review and a stay of the criminal proceedings. State RJN, Ex. K (Pet. for Writ) at 6.

                                  20   He challenged the defendants’ attempt to intervene in the state court proceedings as well as the

                                  21   constitutionality and application of Marsy’s law by the superior court (characterizing it as “an

                                  22   issue of first impression and of profound public importance”). Id. at 11. He also argued the

                                  23   evidence showed discriminatory prosecution given the alleged coordination between the Attorney

                                  24   General’s office and the Private Defendants here, and that recusal of the Attorney General was

                                  25   required given former Attorney General Harris’ connections to Planned Parenthood. Id. The

                                  26   Court of Appeal summarily denied the writ on April 15, 2019. State RJN, Ex. L (Docket,

                                  27   Daleiden v. Superior Ct. of San Francisco Cty.).

                                  28          Judge Hite held a preliminary hearing from September 3, 2019 to September 18, 2019.
                                                                                          4
                                           Case 3:20-cv-07978-WHO Document 226 Filed 05/07/21 Page 5 of 22




                                   1   State RJN, Ex. M (Commitment Order, People v. Daleiden Dec. 6, 2019) at 1. Following the

                                   2   preliminary hearing, Judge Hite issued a Commitment Order, finding that the People had met their

                                   3   probable cause burden and could proceed on Counts 1, 2, 3, 5, 6, 7, 10 and 11 of the Amended

                                   4   Complaint, alleging violations of California Penal Code Section 632(a). Id. at 8-9.

                                   5             On April 30, 2020, Daleiden filed a motion to set aside the information under California

                                   6   Penal Code Section 995, claiming that the prosecution had failed to prove that there was probable

                                   7   cause and because he was entitled to an evidentiary hearing on his claim of discriminatory

                                   8   prosecution (based both the connections between the former Attorneys General and Planned

                                   9   Parenthood as well as Planned Parenthood and NAF’s attempt to intervene in the lawsuit with the

                                  10   support of the AG under Marsy’s law). State RJN, Ex. N (Motion to Set Aside, People v.

                                  11   Daleiden Apr. 30, 2020) at 17-23. The Court of Appeal denied Daleiden’s writ in September 2020

                                  12   and the California Supreme Court denied review in November 2020.
Northern District of California
 United States District Court




                                  13             The State Prosecution is expected go to trial sometime in 2021.

                                  14   III.      THIS LITIGATION
                                  15             On May 12, 2020, Daleiden and CMP filed this suit.3 Plaintiffs assert eight causes of

                                  16   action, each of which is related to the criminal prosecution against Daleiden in California Superior

                                  17   Court: First Cause of Action “Free Speech—Overbreadth of Cal. Penal Code § 632 under 42

                                  18   U.S.C. § 1983” asserted by plaintiffs against defendant former Attorney General Becerra, alleging

                                  19   that California Penal Code Section 632 categorizes so much protected speech as “criminal,” it is

                                  20   unconstitutionally overbroad; Second Cause of Action “Free Speech—Content & Viewpoint

                                  21   Discrimination” under 42 U.S.C. § 1983, asserted by plaintiffs against defendant Becerra, alleging

                                  22   that California Penal Code Section 632.01 is unconstitutional on its face under the First

                                  23   Amendment, as together Sections 632 and 632.01 limit the ability of journalists and others to

                                  24   create images relating only to one particular activity: healthcare;4 Third Cause of Action “Equal

                                  25
                                       3
                                  26    This case was filed originally in the Central District of California and transferred to the Northern
                                       District of California. Dkt. No. 148. It was subsequently deemed related to 15-cv-03522-WHO,
                                  27   National Abortion Federation v. Center for Medical Progress and reassigned to me.
                                       4
                                  28       Cal. Penal Code 632.01 provides:
                                                 (a)(1) anyone who violates Section 632(a) shall be punished pursuant to subdivision (b) if
                                                                                         5
                                           Case 3:20-cv-07978-WHO Document 226 Filed 05/07/21 Page 6 of 22




                                   1   Protection & Due Process—The Daleiden Amendment” asserted by plaintiffs against defendant

                                   2   Becerra, alleging that Section 632.01 is illegal 42 U.S.C. § 1983 and unconstitutional on its face

                                   3   under the Fourteenth Amendment as the motivating purpose behind it was animus towards pro-life

                                   4   groups, and specifically animus towards plaintiffs; Fourth Cause of Action, “Equal Protection &

                                   5   Due Process—Invidious & Selective Prosecution” in violation of 42 U.S.C. § 1983, asserted by

                                   6   plaintiffs against Becerra, PPFA, PPAC, Parker, NAF, Harris, and Habig,5 alleging that plaintiffs

                                   7   rights to Equal Protection and Due Process when they were invidiously and selectively prosecuted;

                                   8

                                   9           the person intentionally discloses or distributes, in any, manner, in any forum. . . the
                                               contents of a confidential communication with a health care provider that is obtained” in
                                  10           violation of 632(a) of Section 632. . . .
                                               (b) A violation of subdivision (a) shall be punished by a fine not exceeding two thousand
                                  11           five hundred dollars ($2,500) per violation, or imprisonment in a county jail not exceeding
                                               one year, or in the state prison, or by both that fine and imprisonment. If the person has
                                  12           previously been convicted of a violation of this section, the person shall be punished by a
Northern District of California




                                               fine not exceeding ten thousand dollars ($10,000) per violation, by imprisonment in a
 United States District Court




                                  13           county jail not exceeding one year, or in the state prison, or by both that fine and
                                               imprisonment.
                                  14           ....
                                               (d)(1) Subdivision (a) does not apply to the disclosure or distribution of a confidential
                                  15           communication pursuant to any of the following:
                                                       (A) Any party as described in Section 633 acting within the scope of his or her
                                  16                   authority overhearing or recording a confidential communication that he or she may
                                                       lawfully overhear or record pursuant to that section.
                                  17                   (B) Any party as described in Section 633.02 overhearing or recording a
                                                       confidential communication related to sexual assault or other sexual offense that he
                                  18                   or she may lawfully overhear or record pursuant to that section, or using or
                                                       operating a body-worn camera as authorized pursuant to that section.
                                  19                   (C) A city attorney as described in Section 633.05 overhearing or recording any
                                                       communication that he or she may lawfully overhear or record pursuant to that
                                  20                   section.
                                                       (D) An airport law enforcement officer recording a communication received on an
                                  21                   incoming telephone line pursuant to Section 633.1.
                                                       (E) A party to a confidential communication recording the communication for the
                                  22                   purpose of obtaining evidence reasonably believed to relate to the commission by
                                                       another party to the communication of a crime as specified in Section 633.5.
                                  23                   (F) A victim of domestic violence recording a prohibited communication made to
                                                       him or her by the perpetrator pursuant to Section 633.6.
                                  24                   (G) A peace officer using electronic amplifying or recording devices to eavesdrop
                                                       on and record the otherwise confidential oral communications of individuals within
                                  25                   a location when responding to an emergency situation that involves the taking of a
                                                       hostage or the barricading of a location pursuant to Section 633.8.
                                  26           (2) This section does not affect the admissibility of any evidence that would otherwise be
                                               admissible pursuant to the authority of any section specified in paragraph (1).
                                  27   5
                                        Another defendant, StemExpress, was named in the Fourth and Fifth Causes of Action but was
                                  28   voluntarily dismissed by plaintiffs on June 15, 2020. Dkt. No. 49.

                                                                                        6
                                           Case 3:20-cv-07978-WHO Document 226 Filed 05/07/21 Page 7 of 22




                                   1   Fifth Cause of Action “Violation of 42 U.S.C. § 1985(3)” by plaintiffs against defendants

                                   2   Becerra, PPFA, PPAC, Parker, NAF, Harris, and Habig for conspiring to have Daleiden

                                   3   prosecuted in violation of his constitutional right to equal protection as a member of his own class

                                   4   of one; Sixth Cause of Action “Violation of 42 U.S.C. § 1986” asserted by Daleiden against

                                   5   Agents Cardwell and Diaz based on the California Department of Justice Agents’ failure to stop

                                   6   violations of Daleiden’s and CMP’s rights through the conspiracy of the other defendants;

                                   7   Seventh Cause of Action “Declaratory Relief—Purpose of Recording Under Sections 632 and

                                   8   633.5” asserted by plaintiffs against defendant Becerra, and seeking a declaration regarding

                                   9   plaintiffs’ right to record based on a reasonable belief to uncover illegal activity; and the Eighth

                                  10   Cause of Action “Supremacy Clause: Preemption of Cal. Penal Code §§ 632, 632.01” asserted by

                                  11   plaintiffs against defendant Becerra for the laws alleged undermining of the objectives of the

                                  12   Federal False Claims Act with respect to health care centers.
Northern District of California
 United States District Court




                                  13           Defendants Becerra and Harris are former California Attorney Generals. Harris and

                                  14   Becerra are alleged to have used their former positions to facilitate the prosecution of Daleiden in

                                  15   retaliation for the content of his and CMP’s videos by the Financial Fraud and Special

                                  16   Prosecutions unit of the Attorney General’s office. Id. ¶¶ 66, 85, 106, 108.6 Defendants Diaz and

                                  17   Cardwell are California Department of Justice agents who are alleged to have been members of

                                  18   the team tasked with investigating, preparing, and serving the search warrant of Daleiden’s home,

                                  19   despite their alleged knowledge that the warrant was not supported by probable cause, was not

                                  20   being sought in good faith, and should not have issued. Id. ¶¶ 102-103.

                                  21           Becerra, Harris, Diaz and Cardwell (collectively, the “State Defendants”) move to dismiss,

                                  22   arguing that I should: (i) abstain under the Younger doctrine to avoid interfering with the ongoing

                                  23   state criminal proceedings; (ii) dismiss the selective prosecution claims as barred by the Rooker-

                                  24   Feldman doctrine; and (iii) stay this matter under the Colorado River doctrine as the pending state

                                  25   court criminal proceedings and the civil proceedings in the Planned Parenthood v. CMP case on

                                  26
                                  27   6
                                         Harris is sued only in her “personal capacity” and Becerra only in his “official capacity.”
                                  28   Compl. ¶¶ 12, 18. Becerra, however, is no longer the California Attorney General. After the stay
                                       is lifted, plaintiffs may amend to name the current California Attorney General.
                                                                                         7
                                        Case 3:20-cv-07978-WHO Document 226 Filed 05/07/21 Page 8 of 22




                                   1   appeal are likely to have preclusive effect on this case. Dkt. No. 81. They further contend that

                                   2   plaintiffs’ claims must be dismissed because they are (iv) time-barred and (v) fail to state claims

                                   3   under the Fourth through Sixth Causes of Action (alleging selective prosecution in violation of

                                   4   equal protection under 42 U.S.C. § 1983, conspiracy to violate constitutional rights under 42

                                   5   U.S.C. § 1985(3), and violation of 42 U.S.C. § 1986) because Harris and Becerra are entitled to

                                   6   absolute prosecutorial immunity and because plaintiffs do not fall with a protected class for their

                                   7   equal protection claim under Section 1983 or a suspect class under Sections 1985(3) or 1986.

                                   8          Defendant Jill Habig is a former Special Assistant California Attorney General who is

                                   9   alleged to have worked and conspired with the other State Defendants to have the Attorney

                                  10   General’s office prosecute Daleiden in retaliation for the content of his videos. Id. ¶¶ 19, 85.

                                  11   Habig moves to dismiss the claims asserted against her (the Fourth and Fifth Causes of Action for

                                  12   selective prosecution and conspiracy in violation of Section 1985(3)), arguing that the claims are
Northern District of California
 United States District Court




                                  13   time-barred, her prosecutorial acts are immune, and plaintiffs fail to adequately allege what role

                                  14   she played in the conspiracy. Dkt. No. 72.

                                  15          Defendants Planned Parenthood Affiliates of California (PPAC, the “umbrella group” for

                                  16   seven Planned Parenthood franchises located in California) and Beth Parker (General Counsel for

                                  17   several California Planned Parenthood affiliates, and through early 2018 the Chief Legal Counsel

                                  18   of PPAC), are alleged to have worked and conspired with California Attorney General’s office to

                                  19   selectively prosecute Daleiden in order to prevent release of the CMP videos and cover up their

                                  20   alleged violations of federal law with respect to the sale of fetal tissue. Id. ¶¶ 14-15, 75.

                                  21   PPAC/Parker move to dismiss the claims asserted against them (the Fourth and Fifth Causes of

                                  22   Action for selective prosecution and conspiracy in violation of Section 1985(3)) as barred by the

                                  23   Rooker-Feldman doctrine because Daleiden has asserted and continues to argue the selective

                                  24   prosecution defense in the state court criminal proceedings. Dkt. No. 77. PPAC/Parker also move

                                  25   to dismiss because the selective prosecution and conspiracy claims are not and cannot be

                                  26   sufficiently pleaded on plausible facts. Dkt. No. 79.

                                  27          Defendant Planned Parenthood Federal of America (PPFA) is alleged to have directed and

                                  28   participated in the Attorney General’s selective prosecution of plaintiffs in order to suppress
                                                                                          8
                                            Case 3:20-cv-07978-WHO Document 226 Filed 05/07/21 Page 9 of 22




                                   1   evidence of PPFA’s affiliates’ violation of federal laws regarding the sale of fetal tissue. Compl. ¶

                                   2   113. PPFA moves to stay this case under Younger abstention, under the Court’s inherent

                                   3   discretion, and under the Pullman doctrine with respect to Daleiden’s challenge to California

                                   4   Penal Code § 632.01. Dkt. No. 87. PPFA also moves to dismiss the two causes of action asserted

                                   5   against it (the Fourth and Fifth Causes of Action for selective prosecution and conspiracy),

                                   6   arguing that PPFA’s alleged conduct is protected by the First Amendment, Daleiden fails to allege

                                   7   facts showing that the non-governmental actors engaged in state action or controlled the

                                   8   prosecution of Daleiden, and Daleiden is not in a suspect class protected by Section 1985(3). Dkt.

                                   9   No. 88.

                                  10             Defendant National Abortion Federation (NAF) is alleged to have communicated with and

                                  11   provided false information to California Department of Justice agents to encourage the State

                                  12   Defendants’ selective enforcement of the California Penal Code section 632 against plaintiffs and
Northern District of California
 United States District Court




                                  13   to silence plaintiffs’ speech and prevent release of the videos. Id. ¶¶ 100, 113-114. NAF moves to

                                  14   dismiss the two causes of action asserted against it (Fourth and Fifth Causes of Action for

                                  15   selective prosecution and conspiracy) because plaintiffs have failed to allege facts supporting

                                  16   NAF’s conspiracy with the State Defendants, Daleiden is not a member of a suspect class

                                  17   protected under Section 1985(3), and plaintiffs cannot meet the heightened pleading standard to

                                  18   challenge NAF’s right to petition under the First Amendment. Dkt No. 105.

                                  19                                               DISCUSSION

                                  20   I.        MOTIONS TO ABSTAIN AND DISMISS OR STAY
                                  21             The State Defendants and PPFA move to dismiss or stay, arguing that I lack jurisdiction

                                  22   over and should abstain from ruling on plaintiffs’ claims under the Younger doctrine. Dkt. Nos.

                                  23   81 (State Defendants’ Motion to Dismiss or Abstain); 87 (PPFA Motion to Stay).

                                  24             Younger abstention “is a jurisprudential doctrine rooted in overlapping principles of equity,

                                  25   comity, and federalism.” San Jose Silicon Valley Chamber of Com. Political Action Comm. v.

                                  26   City of San Jose, 546 F.3d 1087, 1091 (9th Cir. 2008) (citations omitted). Federal courts “must

                                  27   abstain under Younger if four requirements are met: (1) a state-initiated proceeding is ongoing; (2)

                                  28   the proceeding implicates important state interests; (3) the federal plaintiff is not barred from
                                                                                           9
                                        Case 3:20-cv-07978-WHO Document 226 Filed 05/07/21 Page 10 of 22




                                   1   litigating federal constitutional issues in the state proceeding; and (4) the federal court action

                                   2   would enjoin the proceeding or have the practical effect of doing so, i.e., would interfere with the

                                   3   state proceeding in a way that Younger disapproves.” Id. at 1092.

                                   4            There are exceptions to Younger. The Tenth Circuit in Phelps v. Hamilton, 59 F.3d 1058

                                   5   (10th Cir. 1995) described Younger abstention as inappropriate where plaintiffs show that the state

                                   6   court proceedings are: “(1) [] frivolous or undertaken with no reasonably objective hope of

                                   7   success,[] (2) [] motivated by the defendant's suspect class or in retaliation for the defendant’s

                                   8   exercise of constitutional rights, [] and (3) [] conducted in such a way as to constitute harassment

                                   9   and an abuse of prosecutorial discretion, typically through the unjustified and oppressive use of

                                  10   multiple prosecutions.” Id. at 1065 (internal citations omitted). Exceptions to Younger abstention,

                                  11   however, are “narrow” and a plaintiff “must provide something more than conclusory allegations

                                  12   that the state proceeding is the product of bad faith or harassment.” Scarlett v. Alemzadeh, 19-CV-
Northern District of California
 United States District Court




                                  13   07466-LHK, 2020 WL 3617781, at *5 (N.D. Cal. July 2, 2020).

                                  14            The State Defendants argue that I should abstain from hearing and dismiss or stay all of the

                                  15   claims asserted against them – the constitutional, declaratory relief, and preemption challenges to

                                  16   California Penal Code Sections 632, 632.01, and 633.5, as well as the selective prosecution and

                                  17   conspiracy claims – because addressing those claims would interfere with the pending state court

                                  18   criminal proceedings that implicate important interests of California in enforcing its criminal laws,

                                  19   because plaintiffs have raised their constitutional concerns in state court, and because their request

                                  20   for declaratory and injunctive relief will directly interfere with the criminal proceedings. PFFA

                                  21   asserts that I should abstain from hearing and dismiss or stay the claims asserted against the

                                  22   Private Defendants –the Fourth and Fifth causes of action for selective prosecution and conspiracy

                                  23   – because plaintiffs seek damages against the Private Defendants for their alleged participation in

                                  24   the criminal prosecution. PPFA contends that allowing these claims to proceed would not only

                                  25   interfere with the ongoing prosecution but also impact the ability and willingness of witnesses to

                                  26   testify in the state court proceedings, effects the Younger doctrine exists to avoid. PPFA Mot. at

                                  27   18-19.

                                  28            Plaintiffs do not dispute that the four Younger abstention factors have been established by
                                                                                         10
                                           Case 3:20-cv-07978-WHO Document 226 Filed 05/07/21 Page 11 of 22




                                   1   defendants. See San Jose Silicon Valley, 546 F.3d at 1091. Instead, they argue that bad-faith

                                   2   exceptions to Younger abstention apply because the criminal case was a selective prosecution

                                   3   based on invidious discrimination to silence their protected but disfavored pro-life speech. Dkt.

                                   4   No. 212. Plaintiffs contend that they have adequately alleged bad faith because two local

                                   5   prosecutors were encouraged to file criminal charges against Daleiden for recording abortion

                                   6   providers but did not.7

                                   7           There is no dispute that the criminal charges the Attorney General filed against Daleiden

                                   8   were tested on an evidentiary basis in the State Prosecution. The majority of the charges survived

                                   9   the preliminary hearing before Judge Hite. As a result, the typical bad-faith exception to Younger

                                  10   abstention does not apply. See, e.g., Baffert v. California Horse Racing Bd., 332 F.3d 613, 621

                                  11   (9th Cir. 2003) (“In the Younger abstention context, bad faith ‘generally means that a prosecution

                                  12   has been brought without a reasonable expectation of obtaining a valid conviction.’” (quoting
Northern District of California
 United States District Court




                                  13   Kugler v. Helfant, 421 U.S. 117, 126 n. 6 (1975)).

                                  14           In addition, Daleiden’s selective prosecution theory has been tested in state court. He has

                                  15   argued twice that the criminal proceedings should be dismissed based on that basis. He also

                                  16   repeatedly asserted that the Attorney General should recuse given the close relationship between

                                  17   former Attorney General Harris and Planned Parenthood and the acts of the Attorney General’s

                                  18   office facilitating PPFA and NAF’s alleged control of the criminal prosecution. Both of those

                                  19   attempts were unsuccessful at trial court and were rejected on writ petitions by the state appellate

                                  20   court. Given this undisputed procedural history, plaintiffs cannot meet the high burden to show

                                  21   that the typical “bad faith exception” to Younger applies.

                                  22           Plaintiffs argue that they fall within a different bad faith exception to Younger, alleging

                                  23   that the criminal case was brought in retaliation for or to “deter constitutionally protected

                                  24   conduct.” The cases they rely on show why this exception is inapplicable. In Cullen v. Fliegner,

                                  25   18 F.3d 96, 101 (2d Cir. 1994), the Second Circuit affirmed the district court’s denial of a stay

                                  26
                                  27   7
                                        Compl. ¶¶ 84, 89, 95 (alleging that local prosecutors did not file criminal complaints against
                                  28   Daleiden despite police reports made in Pasadena and Los Angeles regarding Daleiden’s recording
                                       of an abortion providers in those two cities).
                                                                                       11
                                           Case 3:20-cv-07978-WHO Document 226 Filed 05/07/21 Page 12 of 22




                                   1   under Younger and its issuance of an injunction against disciplinary proceedings that sought to

                                   2   impose discipline against a teacher who allegedly violated school district policies in his attempt to

                                   3   influence a school board election. The panel concluded that the district court was within its

                                   4   discretion to determine that the disciplinary proceedings were brought in retaliation for the

                                   5   exercise of plaintiff’s First Amendment right to protest the school board elections. The extensive

                                   6   factual allegations showed the “past history of personal conflict” between the parties, that the

                                   7   district’s desire “to do something about” plaintiff rose to the “level of animus,” and that the

                                   8   disciplinary hearing followed prior actions against the teacher (including other charges, hearings,

                                   9   and imposition of fines). There is no such history of past retaliatory or retributive actions by the

                                  10   California Attorney General’s office or its agents against plaintiffs here. See also Masterpiece

                                  11   Cakeshop Inc. v. Elenis, 445 F. Supp. 3d 1226, 1241-1242 (D. Colo. 2019) (Younger exception

                                  12   applied given well-pled allegations of a second, successive proceeding “sufficient to establish
Northern District of California
 United States District Court




                                  13   [state defendants] are pursuing the discrimination charges against Phillips in bad faith, motivated

                                  14   by Phillips’ suspect class (his religion).”).8

                                  15           In Lewellen v. Raff, 843 F.2d 1103 (8th Cir. 1988), the district court’s determination that

                                  16   the bad faith Younger exception applied was affirmed where there was significant evidence

                                  17   showing that the prosecutors (aided by the state court judge) initiated charges against an attorney

                                  18   because of his race, because he had vigorously defended his clients in other matters, and because

                                  19   the defendants were attempting to (and did) thwart plaintiff’s campaign for state office against a

                                  20   their political ally. Id. at 1110-1113. There are no similar allegations of a history of retaliation for

                                  21   prior protected conduct. The sole prosecution here stems from the past recordings. There is no

                                  22   allegation of race-based or other class-based discrimination. The allegations are solely that the

                                  23   charge was brought because of plaintiffs’ disfavored speech.

                                  24           Finally, while plaintiffs argue that their challenge to Section 632.01 as facially

                                  25   unconstitutional triggers yet another Younger exception, they do not plead and do not attempt to

                                  26
                                       8
                                  27     Significantly, plaintiffs plead no similar facts regarding a history of past retaliatory conduct or
                                       retributive actions against plaintiffs despite having received discovery on their selective
                                  28   prosecution theories in the state court proceedings.

                                                                                         12
                                           Case 3:20-cv-07978-WHO Document 226 Filed 05/07/21 Page 13 of 22




                                   1   show in opposition that they can argue in good faith that Section 632.01 is unconstitutional in

                                   2   every possible respect.9 They instead assert that Section 632.01 is facially unconstitutional in

                                   3   every application because it requires law enforcement to determine whether a published

                                   4   undercover recording discloses a “communication with a healthcare provider,” and is therefore a

                                   5   content-based regulation of speech that must but cannot meet strict scrutiny. Dkt. No. 212 at 12-

                                   6   13.

                                   7           Plaintiffs cite no apposite caselaw in support. Numerous laws require government

                                   8   employees in general and law enforcement personnel specifically to consider the content of speech

                                   9   to determine if a Penal Code or other statutory provision might regulate it, such as, to determine

                                  10   whether speech constitutes a criminal threat or whether writings falsely portray someone as a

                                  11   member of law enforcement.10 Simply because government officials have to consider the content

                                  12   of speech to determine whether a specific Penal Code provision applies does not necessarily make
Northern District of California
 United States District Court




                                  13   those laws content-based regulations subject to strict-scrutiny. But even if it did, that different

                                  14   laws address different types of criminal speech in different circumstances does not make them

                                  15   facially invalid for “under-inclusivity” or unconstitutional in every possible application.11

                                  16           In sum, taking plaintiffs’ allegations as true along with judicially noticeable facts regarding

                                  17   the arguments and rulings made in the state court criminal proceedings, Younger abstention

                                  18   applies. None of the Younger exceptions are applicable.

                                  19           The question then becomes whether to dismiss or stay the claims. Plaintiffs argue that if

                                  20

                                  21   9
                                        This exception covers only “flagrantly and patently” unconstitutional statutes: “a statute must be
                                  22   unconstitutional in every “clause, sentence and paragraph, and in whatever manner” it is applied is
                                       “very narrow.” Dubinka v. JJ. of Super. Ct. of State of Cal. for County of Los Angeles, 23 F.3d
                                  23   218, 225 (9th Cir. 1994). It may not be utilized “if the constitutionality of the state statute is
                                       unclear or if the statute may be applied constitutionally in some cases.” Id.
                                  24   10
                                         For example, California Penal Code section 538d prohibits using a writing to falsely portray
                                  25   someone as law enforcement officer.
                                       11
                                  26     The State Defendants argue that plaintiffs lack standing to challenge the constitutionality of
                                       Section 632.01 because they have not been charged with violation that section in the criminal
                                  27   proceedings and fail to allege facts showing that they will reasonably be in danger of prosecution
                                       under that law in the future (given their repeated defense of their undercover recordings as having
                                  28   taken place where no reasonable expectation of confidentiality could exist). I need not reach this
                                       argument now.
                                                                                         13
                                        Case 3:20-cv-07978-WHO Document 226 Filed 05/07/21 Page 14 of 22




                                   1   no Younger exception applies, because the Fourth through Sixth Causes of Action seek damages

                                   2   those claims cannot be dismissed but must be stayed. See Herrera v. Cty. of Palmdale, 918 F.3d

                                   3   1037, 1042 (9th Cir. 2019) (noting the district court dismissed claims for injunctive and

                                   4   declaratory relief, but stayed damages claims). During the hearing on these motions, plaintiffs and

                                   5   some of the defendants agreed that in light of the number of issues involved and the potential

                                   6   impact of the state court or Ninth Circuit proceedings on the scope of the claims that may be left in

                                   7   this case given those proceedings, a stay is more appropriate than outright dismissal under

                                   8   Younger. I agree.12

                                   9          Each set of defendants also moves to dismiss the claims asserted against them under Rule

                                  10   12(b)(6), arguing that some of the claims and related defendants must be dismissed with prejudice

                                  11   based on immunity or as barred under applicable statutes of limitations. They also contend that

                                  12   the bulk of the claims asserted against them must be dismissed for failure to allege plausible facts
Northern District of California
 United States District Court




                                  13   in support. To avoid unnecessary delay, I will address these arguments now.

                                  14   II.    MOTIONS TO DISMISS
                                  15          A.      State Defendants’ Motion to Dismiss
                                  16          The State Defendants move to dismiss all of plaintiffs’ Section 1983 claims as time-barred

                                  17   given that plaintiffs sought and secured discovery in the state court proceedings in October 2017

                                  18   to support Daleiden’s selective prosecution theories that underlie each of the Section 1983 claims

                                  19   here. They also move to dismiss the Fourth through Sixth Causes of Action because the former

                                  20

                                  21
                                       12
                                          Given my conclusions that a stay is appropriate under Younger, I need not reach the defendants’
                                       other grounds for a stay or for dismissal. See Dkt. Nos. 77, 81, 87. However, a stay under the
                                  22   Colorado River doctrine would be appropriate, given the desire to avoid piecemeal litigation, that
                                       state law provides the rule of decision on some of the claims arising from and being litigated in the
                                  23   state court proceedings, that the state forum can adequately address and protect plaintiffs’ federal
                                       rights, and given the importance of avoiding the existence or appearance of forum shopping. See
                                  24   R.R. St. & Co. Inc. v. Transport Ins. Co., 656 F.3d 966, 978–79 (9th Cir. 2011). A stay is also
                                       appropriate under Pullman abstention, as the California proceedings may address defendants’ right
                                  25   to petition under Marsy’s law given plaintiffs’ arguments regarding selective prosecution that have
                                       been raised in the state court proceedings. See Smelt v. County of Orange, 447 F.3d 673, 679 (9th
                                  26   Cir. 2006). Finally, a stay is also appropriate under my inherent discretion to promote the orderly
                                       course of justice and given the lack of any prejudice to plaintiffs (who themselves moved to stay
                                  27   this case earlier on other grounds). See CMAX, Inc. v. Hall, 300 F.2d 265, 268 (9th Cir. 1962).

                                  28   At this juncture, I decline to reach the argument that Rooker-Feldman requires dismissal. That
                                       argument may be revisited after the stay is lifted.
                                                                                         14
                                        Case 3:20-cv-07978-WHO Document 226 Filed 05/07/21 Page 15 of 22




                                   1   Attorney General defendants (Harris and Becerra) are absolutely immune for their prosecutorial

                                   2   conduct (Fourth COA) and because plaintiffs fail to allege that they are members of a protected

                                   3   class for purposes of their equal protection claim (Fourth COA) and cannot allege they are

                                   4   members of a suspect or quasi-suspect class for their Sections 1985(3) and 1986 claims (Fifth and

                                   5   Sixth COAs). Dkt. No. 81-1.

                                   6                  1.      Time-Barred
                                   7          Both sides agree that the statute of limitations for the constitutional selective prosecution

                                   8   claims is two years. The State Defendants contend that the facts underlying plaintiffs’ selective

                                   9   prosecution theory were known by October 2017, when Daleiden moved to compel discovery in

                                  10   the State Prosecution to show the alleged “symbiotic relationship” between the State Defendants

                                  11   and the Private Defendants in support of his selective prosecution theory and attempt to recuse the

                                  12   Attorney General. This means that plaintiffs necessarily had adequate notice or a reason to
Northern District of California
 United States District Court




                                  13   suspect the facts underlying their selective prosecution theories in October 2017 and that their

                                  14   Section 1983 claims should have been filed no later than October 2, 2019. The State Defendants

                                  15   also separately contend that the very latest that Daleiden had all of the information relevant to his

                                  16   Section 1983-based selection prosecution claims was on May 10, 2018, when Daleiden replied to

                                  17   the prosecution’s opposition to the state court motion to compel discovery. That would mean that

                                  18   the claims here should have been filed no later than May 10, 2020. Because this case was filed on

                                  19   May 12, 2020, the State Defendants argue that the claims are barred as a matter of law.

                                  20          Both of those arguments are facially persuasive. In response, plaintiffs attempt to split

                                  21   their selective prosecution theory into two separate claims. The first, the “speech-based claim,” is

                                  22   based on the theory that the State Defendants and Private Defendants were motivated to infringe

                                  23   Daleiden’s right to free speech. The second, the “class-based claim,” is based on the theory that

                                  24   the State Defendants retaliated against plaintiffs as a pro-life adversary. Dkt. No. 213. Plaintiffs

                                  25   contend that the facts underlying their speech-based claim were not discovered until August 31,

                                  26   2018, when the Attorney General admitted in the state court proceedings that the charges against

                                  27   Daleiden were pursued because the CMP videos were “edited to enhance their shock value, and

                                  28   published online.” Compl. ¶¶ 108, 177. Daleiden contends that it was not until that date that he
                                                                                         15
                                        Case 3:20-cv-07978-WHO Document 226 Filed 05/07/21 Page 16 of 22




                                   1   discovered he was singled out based on the content of the videos.13

                                   2          Defendants respond, first, that the speech-based claim is not a separate claim because it

                                   3   simply recasts Daleiden’s basic theory – asserted in October 2017 – that he was prosecuted in

                                   4   order to punish his politically disfavored speech. They also contend that Daleiden’s new argument

                                   5   – that it was not the pro-life content of the videos, but instead the allegation that the videos were

                                   6   misleadingly edited, that caused his prosecution– is specious and wholly unsupported by any fact

                                   7   or allegation in the Complaint. Given the current state of the pleadings, defendants are correct.

                                   8          Plaintiffs admit that they were on notice of the class-based claim given their motion to

                                   9   compel and assertions of selective prosecution in state court. Nevertheless, they argue that they

                                  10   may still pursue the class-based claim under the “continuing violations” theory, as the State

                                  11   Defendants continue to pursue the prosecution. Dkt. No. 213 at 5-6. But the continuing violations

                                  12   theory does not apply where the harm alleged stems from the same prosecution. See Knox v.
Northern District of California
 United States District Court




                                  13   Davis, 260 F.3d 1009, 1013 (9th Cir. 2001) (“However, this court has repeatedly held that a ‘mere

                                  14   ‘continuing impact from past violations is not actionable.’” (quoting Grimes v. City and County of

                                  15   San Francisco, 951 F.2d 236, 238–39 (9th Cir.1991)); see also RK Ventures, Inc. v. City of

                                  16   Seattle, 307 F.3d 1045, 1058 (9th Cir. 2002) (“But in determining when an act occurs for statute of

                                  17   limitations purposes, we look at when the “operative decision” occurred [], and separate from the

                                  18   operative decisions those inevitable consequences that are not separately actionable.”). Without

                                  19   new acts creating new harm, the continuing violations theory lacks merit.

                                  20          Accordingly, the motion to dismiss the Section 1983 selective prosecution claims are

                                  21   DISMISSED as barred by the statute of limitations. Plaintiffs, however, are given leave to amend

                                  22
                                       13
                                  23      Plaintiffs rely on U.S. v. P.H.E., Inc., 965 F.2d 848, 854 (10th Cir. 1992), but that case does not
                                       help them. There the court addressed “whether the First Amendment right to be free from
                                  24   pretextual criminal prosecutions, brought not by a desire to enforce the law, but by a desire to
                                       pressure a defendant into surrendering First Amendment rights, can be vitiated by requiring a
                                  25   defendant to await post-trial vindication.” Here, given the rulings by the state courts flatly
                                       rejecting plaintiffs’ selective prosecution claims (and there is no contention that the state courts
                                  26   themselves are biased against plaintiffs), there is no ground to argue it is a wholly “pretextual
                                       criminal prosecution.” In addition, unlike here, in P.H.E., there was “substantial evidence of an
                                  27   extensive government campaign, of which this indictment is only a part, designed to use the
                                       burden of repeated criminal prosecutions to chill the exercise of First Amendment rights.” Id. at
                                  28   855. Under those limited and rare circumstances the Tenth Circuit was persuaded that Younger
                                       should not apply. There is no similar showing here.
                                                                                          16
                                        Case 3:20-cv-07978-WHO Document 226 Filed 05/07/21 Page 17 of 22




                                   1   once the stay is lifted. If plaintiffs want to pursue their new two-pronged claim, they need to

                                   2   allege it. Defendants’ argument that both claims are barred because defendants were on

                                   3   reasonable notice of them has at least some facial merit. But plaintiffs may have an opportunity to

                                   4   lay out their theories in an amended complaint along with plausible facts that would support their

                                   5   lack of reasonable notice.

                                   6                  2.      Prosecutorial Immunity
                                   7          State Defendants Becerra and Harris separately move to dismiss the Fourth Cause of

                                   8   Action for “selective prosecution” because they are entitled to absolute prosecutorial immunity for

                                   9   their acts as former California Attorneys General.

                                  10          Generally, the Supreme Court has explained that a selective prosecution claim:

                                  11                  [I]s not a defense on the merits to the criminal charge itself, but an
                                                      independent assertion that the prosecutor has brought the charge for
                                  12                  reasons forbidden by the Constitution. Our cases delineating the
Northern District of California
 United States District Court




                                                      necessary elements to prove a claim of selective prosecution have
                                  13                  taken great pains to explain that the standard is a demanding one.
                                                      These cases afford a “background presumption,” [] that the showing
                                  14                  necessary to obtain discovery should itself be a significant barrier to
                                                      the litigation of insubstantial claims.
                                  15
                                       U.S. v. Armstrong, 517 U.S. 456, 463–64 (1996). Therefore, prosecutions have a “presumption of
                                  16
                                       regularity” and “in the absence of clear evidence to the contrary,” courts presume that they have
                                  17
                                       properly discharged their official duties. Id. at 464. In the ordinary case, “so long as the
                                  18
                                       prosecutor has probable cause to believe that the accused committed an offense defined by statute,
                                  19
                                       the decision whether or not to prosecute, and what charge to file or bring before a grand jury,
                                  20
                                       generally rests entirely in his discretion.” Bordenkircher v. Hayes, 434 U.S. 357, 364 (1978).
                                  21
                                       Given Judge Hite’s probable cause determination in the criminal case, prosecutorial immunity
                                  22
                                       applies as a matter of law to Harris and Becerra.
                                  23
                                              Harris and Becerra acknowledge that prosecutors are not entitled to immunity for
                                  24
                                       administrative and investigative functions. But plaintiffs allege no facts regarding Harris or
                                  25
                                       Becerra’s conduct in investigating plaintiffs; the only facts alleged are related to their decision to
                                  26
                                       file and pursue the state court criminal complaint. Accordingly, their prosecutorial actions are
                                  27
                                       absolutely immune from damages. See Buckley v. Fitzsimmons, 509 U.S. 259, 273 (1993); see also
                                  28
                                                                                           17
                                        Case 3:20-cv-07978-WHO Document 226 Filed 05/07/21 Page 18 of 22




                                   1   Compl. ¶¶ 182-187 (referring repeatedly to acts of “prosecution”). Because neither Harris nor

                                   2   Becerra is currently the California Attorney General, they cannot provide the injunctive relief

                                   3   plaintiffs seek either. For those reasons, the Becerra and Harris must be dismissed in full.

                                   4          Plaintiffs do not dispute that Harris and Becerra are immune for their prosecutorial

                                   5   decisions but argue that they seek to hold these two liable for their investigative functions.

                                   6   Relying on Buckley v. Fitzsimmons, 509 U.S. 259, 273 (1993), where a prosecutor was not

                                   7   immune from claims that he allegedly fabricated evidence during the investigation, plaintiffs

                                   8   contend that their Fourth Cause of Action is “based on Defendants Harris, Habig, and Becerra’s

                                   9   involvement in the investigative process, initiated by the PPAC and NAF Defendants’ conduct and

                                  10   joint action, that culminated in the prosecution of Daleiden.” Dkt. No. 213 at 8. The problem is

                                  11   that this new “investigatory” theory is not actually alleged in the Complaint. It is wholly

                                  12   unsupported by the existing allegations that focus exclusively on prosecutorial acts by Harris and
Northern District of California
 United States District Court




                                  13   Becerra.14

                                  14          Plaintiffs also argue that prosecutions based on arbitrary classifications directed against a

                                  15   particular class of persons may be unconstitutional and that prosecutors may be liable despite

                                  16   prosecutorial immunity. They rely on settled Supreme Court precedent recognizing that

                                  17   “‘arbitrary classification[s] directed so exclusively against a particular class of persons’ are

                                  18   unconstitutional and violate 42 U.S.C. § 1983.” Dkt. No. 213 (quoting U.S. v. Armstrong, 517

                                  19   U.S. 456, 464 (1996)). But Daleiden identifies no “class” to which he belongs other than his

                                  20   profession as a journalist and his pro-life beliefs. Neither of those suffice. See, e.g., Armstrong,

                                  21   517 U.S. at 464-65 (requiring a defendant to demonstrate “that the administration of a criminal

                                  22   law is ‘directed so exclusively against a particular class of persons’” based on “an unjustifiable

                                  23   standard such as race, religion, or other arbitrary classification” such that “the system of

                                  24

                                  25
                                       14
                                          The only allegation in the Complaint that might come close to the “fabrication” situation
                                       recognized in Buckley is plaintiffs’ allegation that unidentified defendants knowingly and willfully
                                  26   conspired to suppress information about Cal. Penal Code § 633.5 from unidentified magistrates
                                       and those defendants “instructed” unidentified investigators in the Attorney General’s office to
                                  27   ignore this critical statutory element. Compl. at ¶ 179. This allegation is not sufficient as alleged.
                                       Leave to amend is granted so plaintiffs can identify the specific defendants involved and facts
                                  28   plausibly showing their direct role in that alleged conduct.

                                                                                         18
                                        Case 3:20-cv-07978-WHO Document 226 Filed 05/07/21 Page 19 of 22




                                   1   prosecution amounts to ‘a practical denial’ of equal protection of the law.” (internal quotations and

                                   2   citations omitted)). Plaintiffs’ allegations – accepted as true – that Daleiden is the first journalist

                                   3   to be charged for violation of Section 632 and that he was charged only because of his pro-life

                                   4   politically disfavored speech are not the types of suspect classifications that would clear the high

                                   5   hurdle of prosecutorial immunity. If Daleiden could point to a pattern of California Attorney

                                   6   Generals not charging pro-choice journalists for similar conduct or only charging pro-life

                                   7   journalists, that result might be different. But being the admitted first does not – on this record –

                                   8   create a plausible inference that his profession as a pro-life journalist is an arbitrary or otherwise

                                   9   suspect classification that led to his selective prosecution in violation of Section 1983.

                                  10          Therefore, the Fourth Cause of Action is DISMISSED. Once the stay is lifted, plaintiffs

                                  11   have leave to amend to attempt to allege facts regarding Harris and Becerra’s personal conduct

                                  12   with respect to the investigation of plaintiffs and to name the current California Attorney General
Northern District of California
 United States District Court




                                  13   for purposes of their injunctive relief claim.15

                                  14                  3.      Suspect or Quasi-Suspect Class
                                  15          The State Defendants move to dismiss the Fifth and Sixth claims (under Sections 1985(3)

                                  16   suspect-class denial of equal protection and conspiracy under Section 1986) given plaintiffs failure

                                  17   to allege that they are within a “suspect” or “quasi-suspect” class. State Defendants rely on

                                  18   Supreme Court and Ninth Circuit precedent that require evidence of racial- or class-based animus

                                  19   or other recognized categories of “invidious discrimination.” As those cases demonstrate,

                                  20   Daleiden’s theory that he was singled out as a journalist or for his pro-life beliefs cannot, as a

                                  21   matter of law, state an actionable claim under Section 1985(3). See Schultz v. Sundberg, 759 F.2d

                                  22   714, 718 (9th Cir. 1985) (noting section 1985(3) has been extended “beyond race only when the

                                  23   class in question can show that there has been a governmental determination that its members

                                  24   ‘require and warrant special federal assistance in protecting their civil rights.’ [] More specifically,

                                  25   we require either that the courts have designated the class in question a suspect or quasi-suspect

                                  26
                                  27
                                       15
                                         The State Defendants also move to dismiss the Fourth Cause of Action based on a “class of one
                                       theory.” Dkt. No. 81-1 at 20-21. In opposition, plaintiffs clarified their “class of one” theory was
                                  28   not relevant to the selective prosecution claim, but only to their Section 1985(3) claim. Dkt. No.
                                       213 at 11. As discussed below, that claim is dismissed with prejudice.
                                                                                         19
                                        Case 3:20-cv-07978-WHO Document 226 Filed 05/07/21 Page 20 of 22




                                   1   classification requiring more exacting scrutiny or that Congress has indicated through legislation

                                   2   that the class required special protection.”); see also Bray v. Alexandria Women’s Health Clinic,

                                   3   506 U.S. 263, 269 (1993) (rejecting opposition to abortion as a protected class “alongside race

                                   4   discrimination, as an ‘otherwise class-based, invidiously discriminatory animus’ covered by the”

                                   5   section 1985(3) and explaining whatever “may be the precise meaning of a ‘class’ for purposes of

                                   6   Griffin’s speculative extension of § 1985(3) beyond race, the term unquestionably connotes

                                   7   something more than a group of individuals who share a desire to engage in conduct that the §

                                   8   1985(3) defendant disfavors.”); Sever v. Alaska Pulp Corp., 978 F.2d 1529, 1537 (9th Cir. 1992)

                                   9   (noting that neither “a transitory coalition of state representatives,” nor a class of “Holocaust

                                  10   revisionists,” nor “individuals who wish to petition the government” fell “within the meaning of

                                  11   section 1985 because neither group has been singled out for special federal protection, neither

                                  12   legislative nor judicially crafted.”).
Northern District of California
 United States District Court




                                  13           Plaintiffs respond that they can bring a section 1985(3) claim as a “class of one.” They

                                  14   rely on Willowbrook v. Olech, 528 U.S. 562, 564 (2000) and Gerhart v. Lake County, Mont., 637

                                  15   F.3d 1013, 1021 (9th Cir. 2011), where Section 1983 equal protection claims based on allegations

                                  16   that individuals were “irrationally singled out” were addressed. However, neither of those cases

                                  17   addressed a section 1985(3) claim and plaintiffs provide no Ninth Circuit or Supreme Court

                                  18   authority supporting an extension of Section 1985(3) protections to a similarly situated “class of

                                  19   one” like Daleiden. Plaintiffs’ Fifth Cause of Action under Section 1985(3) claim is DISMISSED

                                  20   with prejudice.

                                  21           The Sixth Cause of Action likewise fails as a matter of law. This cause of action is

                                  22   asserted only against Agents Diaz and Cardwell under Section 1986, alleging that the agents

                                  23   conspired to violate Section 1985(3) when they refused or failed to prevent the “wrongs conspired

                                  24   to be done under Section 1985 as alleged in Plaintiffs’ Fifth Claim for Relief.” As this claim is

                                  25   tethered only to the dismissed Section1985(3) claim, it and agents Diaz and Cardwell are

                                  26   DISMISSED with prejudice.

                                  27           The State Defendants’ motion to dismiss based on the statute of limitations and

                                  28   prosecutorial immunity is GRANTED with leave to amend. The motion to dismiss the Fifth and
                                                                                         20
                                        Case 3:20-cv-07978-WHO Document 226 Filed 05/07/21 Page 21 of 22




                                   1   Sixth Causes of Action, and defendants Diaz and Cardwell, is GRANTED with prejudice.

                                   2          B.      Habig’s Motion to Dismiss
                                   3          The other state defendant, Jill Habig, is alleged to have served as a Special Assistant

                                   4   Attorney General and Special Counsel to former-Attorney General Harris from 2013 to 2016, and

                                   5   from 2016 to 2017 is alleged to have served as Harris’ campaign manager for U.S. Senate.

                                   6   Compl. ¶ 19. Plaintiffs sue Habig in her personal capacity as a defendant under the Fourth and the

                                   7   now-dismissed with prejudice Fifth Cause of Action. I am dismissing the Fourth Cause of Action

                                   8   for invidious and selective prosecution with leave to amend, as discussed above. Once the stay is

                                   9   lifted, plaintiffs can attempt to plead theories and facts against Habig to allege a viable theory of

                                  10   unconstitutional conduct occurring during the investigation of Daleiden in order to avoid the

                                  11   statute of limitations, as they can against Harris and Becerra. See supra.

                                  12          Therefore, Habig’s motion to dismiss is GRANTED. The Fifth Cause of Action is
Northern District of California
 United States District Court




                                  13   DISMISSED with prejudice and the Fourth Cause of Action is DISMISSED with leave to amend.

                                  14          C.      Private Defendants’ Motions to Dismiss for Pleading Failures
                                  15          Each set of Private Defendants – PPFA, PPAC/Parker, and NAF – also moves to dismiss

                                  16   for pleading failures. The only claims asserted against the Private Defendants are the Fourth and

                                  17   Fifth Causes of Action. As noted above, the Fifth Cause of Action has been dismissed with

                                  18   prejudice for all defendants. The Fourth Cause of Action has also been dismissed for all

                                  19   defendants, but with leave to amend so that plaintiffs can attempt to plead around the statute of

                                  20   limitations and state a plausible claim against defendants Harris, Becerra, and Habig. If plaintiffs

                                  21   cannot cure the deficiencies identified against those three, the Private Defendants cannot be

                                  22   separately liable for acting in concert with them.

                                  23          However, even if plaintiffs attempt to cure the deficiencies with their claims against Harris,

                                  24   Becerra and Habig, their claims against the Private Defendants may still founder based on the

                                  25   Private Defendants’ arguments that: (i) the Private Defendants’ alleged conduct is First

                                  26   Amendment activity protected under the Noerr-Pennington doctrine16 and plaintiffs have not

                                  27

                                  28
                                       16
                                         Under the Noerr–Pennington doctrine, “[t]hose who petition government for redress are
                                       generally immune from [] liability.” Professional Real Estate Investors, Inc. v. Columbia Pictures
                                                                                      21
                                        Case 3:20-cv-07978-WHO Document 226 Filed 05/07/21 Page 22 of 22




                                   1   alleged plausible facts showing the sham exception to that doctrine applies; and (ii) plaintiffs have

                                   2   not alleged sufficient facts plausibly supporting that Private Defendants’ acts were taken under

                                   3   color of state law or that the State Defendants allowed Private Defendants unbridled authority over

                                   4   the investigation or prosecution of Daleiden.17 I will not delve deeply into these arguments now,

                                   5   but plaintiffs are advised to plead facts that support of application of the Noerr-Pennington sham

                                   6   exception as well as facts showing that the Private Defendants and Harris, Becerra and Habig

                                   7   agreed to work together to violate plaintiffs’ constitutional rights through the investigation or

                                   8   prosecution of Daleiden.

                                   9                                             CONCLUSION

                                  10          This case is STAYED as a matter of Younger abstention. The Fifth and Sixth Causes of

                                  11   Action, and defendants Diaz and Cardwell, are DISMISSED WITH PREJUDICE now. The

                                  12   remaining claims are DISMISSED WITH LEAVE TO AMEND. The dismissal with leave to
Northern District of California
 United States District Court




                                  13   amend is stayed until further order. Once the stay is lifted – after the state court and Ninth Circuit

                                  14   proceedings are either final or have progressed sufficiently to provide guidance on plaintiffs’

                                  15   remaining claims – plaintiffs will be given reasonable time to file an amended complaint that

                                  16   addresses the deficiencies identified in this Order.

                                  17          IT IS SO ORDERED.

                                  18   Dated: May 7, 2021

                                  19

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                                                                                                     William H. Orrick
                                  21                                                                 United States District Judge
                                  22

                                  23   Indus., Inc., 508 U.S. 49, 56 (1993). “The doctrine immunizes petitions directed at any branch of
                                       government, including the executive, legislative, judicial and administrative agencies.” Manistee
                                  24   Town Ctr. v. City of Glendale, 227 F.3d 1090, 1092 (9th Cir. 2000).

                                  25
                                       17
                                         Private individuals “cannot be liable unless they conspired or acted jointly with state actors to
                                       deprive the plaintiffs of their constitutional rights.” Radcliffe v. Rainbow Const. Co., 254 F.3d
                                  26   772, 783 (9th Cir. 2001). However, a “relationship of cause and effect between the complaint and
                                       the prosecution is not sufficient, or every citizen who complained to a prosecutor would find
                                  27   himself in a conspiracy. The plaintiffs must provide evidence of ‘an agreement or meeting of the
                                       minds to violate constitutional rights.’” Id. at 783–84 (quoting United Steelworkers v. Phelps
                                  28   Dodge Corp., 865 F.2d 1539, 1540–41 (9th Cir.1989) (en banc)).

                                                                                         22
